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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA
                          CHARLESTON DIVISION

IN RE: AQUEOUS FILM-FORMING                               MDL NO. 2:18-mn-02873-RMG
FOAMS PRODUCT LIABILITY
LITIGATION

TYCO FIRE PRODUCTS LP,                      Civil Action No. 2:23-cv-02384-RMG
                              Plaintiff,
                v.

AIU INSURANCE COMPANY, et al.               Hon. Richard M. Gergel

                           Defendants.




 PLAINTIFF TYCO FIRE PRODUCT’S OMNIBUS RESPONSE IN OPPOSITION TO
         INSURER DEFENDANTS’ MOTIONS TO DISMISS OR STAY


                                August 14, 2023




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       Plaintiff Tyco Fire Products LP (“Tyco”) respectfully submits this Omnibus Response in

Opposition to the four separate (and mostly duplicative) motions to dismiss that have been filed

by: (1) Defendants AIU Insurance Company, American Home Assurance Company, Insurance

Company of the State of Pennsylvania, National Union Fire Insurance Company of Pittsburgh,

Pa., and New Hampshire Insurance Company (“AIG Defendants”), ECF 24; (2) Defendants

American Guarantee and Liability Insurance Company and Zurich American Insurance

Company (“Zurich Defendants”), ECF 26; (3) Defendant Great American Insurance Company

(“Great American”), ECF 22; and (4) Defendant Starr Indemnity and Liability Insurance

Company (“Starr”), ECF 27. 1 Tyco refers to the movants, collectively, as “Insurer Defendants.”

                                       INTRODUCTION

       Insurer Defendants are refreshingly candid about their objective. In the words of the AIG

Defendants, who are Tyco’s primary and umbrella insurers in most of the policy years at issue,

Tyco can and should “pay a settlement” to underlying plaintiffs in this MDL proceeding and then

“chase its insurers.” AIG Mem., ECF 24-2 at 20. Tyco should do this, they say, because Tyco

“can afford to settle with the underlying claimants without resolving coverage disputes.” Id. at 20

n.12. “In any event,” they assert:

               coverage, jurisdictional, and other issues will likely ultimately be
               resolved by the Fourth Circuit (and potentially by state Supreme
               Courts by way of certification), meaning that any result here will
               not result in the availability of funds to Tyco to settle anytime soon
               (not that it needs such funds to settle).

Id. at 21 (emphasis added).

       In other words, even though Tyco purchased hundreds of millions of dollars of liability

insurance from these very insurers to protect itself against massive liability exposures and


1
 Unless stated otherwise, ECF numbers in this Omnibus Response refer to the Court’s member
case docket for this coverage action in No. 2:23-cv-02384.
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defense expenses—which Tyco has asserted rights to collect and deploy in response to the AFFF

claims at issue—Tyco should be required to put its insurance assets aside and self-fund a

settlement, and then “chase its insurers” because whatever this or any other Court may think and

decide, “any result here will not result in the availability of funds to Tyco to settle anytime

soon.” Id. at 21 (emphasis added).

         This is not how insurance is supposed to work. And it certainly is not what major insurers

like those here tell their policyholders when they sell policies with the sorts of coverages and

limits at issue here. Tyco is entitled to access its insurance assets now, in its time of need, and

Insurer Defendants’ efforts to bury their policyholder and this Court in duplicative papers—and

their related promise to try to delay a resolution of this coverage action—are inappropriate. 2

         This Court has jurisdiction over the coverage dispute at hand, and it should exercise that

jurisdiction to resolve the coverage issues before it, consistent with its indication that it

“intend[s] to move expeditiously to address coverage issues” in advance of a possible spring

2024 water provider bellwether trial. Status Conference Tr., at 47:3–10 (July 14, 2023).

                                     SUMMARY OF POINTS

         Insurer Defendants have invoked five different grounds upon which they contend this

Court should dismiss or stay this action. 3 None of these grounds applies.

         First, Insurer Defendants claim that Tyco’s action is subject to dismissal because it fails

to comply with the Rules of Procedure of the Judicial Panel on Multidistrict Litigation (“JPML


2
  As the AIG Defendants surely know, a judgment by this Court requiring the honoring of
contractual obligations or the payment of money is generally enforceable and collectible when
rendered, even pending appeal. See Arthur Wright et al., Federal Practice & Procedure § 3954
(5th ed.) (“The taking of an appeal does not by itself suspend the operation or execution of a
district-court judgment or order during the pendency of the appeal.”).
3
    All Insurer Defendants seek dismissal. The AIG Defendants and Starr alternatively seek a stay.



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Rules”) and the Court’s Case Management Order No. 3 (“CMO 3,” MDL Management Case,

ECF 72). 4 But Tyco did not need permission from the Judicial Panel on Multidistrict Litigation

(“JPML”) to file this action. Under the JPML Rules, CMO 3, and the Local Rules of this Court,

venue is entirely proper in this district, and the Court has broad discretion to include this action

within the AFFF MDL proceeding to which it unquestionably relates.

         Second, the Court has personal jurisdiction over all Insurer Defendants. As the United

States Supreme Court confirmed just six weeks ago, in Mallory v. Norfolk Southern Railway,

143 S. Ct. 2028 (2023), out-of-state insurance companies consent to general personal jurisdiction

in a state when they appoint the state’s director of insurance as their agent for service of process

in exchange for a license to do business in the state. Insurer Defendants have done that here,

pursuant to the South Carolina Insurance Code, S.C. Code § 38-5-70. Further, and wholly

independent of any such consent, Insurer Defendants are subject to specific personal jurisdiction

in this action, not only because they sold insurance policies to Tyco that include South Carolina

within the “coverage territory” for the insured risks at issue, but also because they agreed to

defend and indemnify Tyco from the underlying AFFF liabilities in question—thousands of

which are pending in this MDL proceeding, and more than 80 of which have been filed either

directly in this district and MDL identifying South Carolina as their venue, or removed to this

MDL from South Carolina state courts.

         Third, South Carolina’s so-called “door-closing” statute, S.C. Code § 15-5-150, does not

govern federal jurisdiction or venue and does not require dismissal. That statute also expressly

permits non-residents to sue foreign corporations when the “subject of the action shall be situated

within” South Carolina. Here, as just noted, the parties’ coverage dispute is situated within South



4
    Citations to the “MDL Management Case” refer to the Court’s docket in No. 2:18-mn-02873.

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Carolina: it centers upon Insurer Defendants’ obligation to cover Tyco for its potential liabilities

in the AFFF suits that have been consolidated here in this MDL proceeding.

        Fourth, Insurer Defendants’ invocation of abstention doctrines to try to avoid this Court’s

exercise of jurisdiction are unavailing. The Brillhart/Wilton doctrine does not apply, because

Tyco’s claims do not solely seek declaratory relief. Insurer Defendants instead must satisfy the

heightened Colorado River doctrine, under which a federal court has a “virtually unflagging

obligation” to exercise its jurisdiction. They have not and cannot meet this test, which in any

event is, at best for Insurer Defendants, a discretionary ground to decline jurisdiction.

        Lastly, Insurer Defendants’ efforts to invoke forum non conveniens is likewise of no

avail. That doctrine has no application in this context, and even if it applied, this Court and MDL

proceeding, where the underlying claims and evidence are consolidated, hardly present an

inappropriate or inconvenient forum.

        The Court thus should deny Insurer Defendants’ motions to dismiss or stay.

                                         BACKGROUND

I.      The AFFF MDL Proceeding and Its Five-Year History

        By order dated December 7, 2018, the JPML centralized approximately 90 actions

involving allegations that aqueous film-forming foams (“AFFF”) products caused damage to

groundwater. MDL Management Case, ECF 1 (Dec. 7, 2018). The JPML transferred and

consolidated these lawsuits before this Court, and the Court and the parties quickly got to work.

        In the five years since the original centralization order, the MDL has grown to include

more than 4,000 cases, from 50 states, three territories, and the District of Columbia,

encompassing approximately 17,000 plaintiffs. Under the supervision of this Court, the MDL

parties have produced tens of millions of pages of documents, undertaken extensive written

discovery, and conducted more than 160 depositions. Tyco alone has produced nearly 220,000


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documents, spanning more than 875,000 pages, and presented 14 witnesses for deposition. All of

this discovery is available to any party to the MDL, including now Insurer Defendants. Indeed,

as of the date of this response, Tyco has produced all of the approximately 220,000 documents in

its MDL productions to Insurer Defendants. Dyschkant Decl. ¶ 2.

         In its 2018 order, the JPML explained that the original AFFF lawsuits should be

centralized because they “share factual questions concerning the toxicity of PFOA and PFOS and

their effects on human health; the chemical properties of these substances and their propensity to

migrate in groundwater supplies; the knowledge of the AFFF manufacturers regarding the

dangers of PFOA and PFOS; their warnings, if any, regarding proper use and storage of AFFFs;

and to what extent, if any, defendants conspired or cooperated to conceal the dangers of PFOA

and PFOS in their products.” MDL Management Case, ECF 1 at 3.

         Since 2021, the Court has overseen the workup of nine potential bellwether cases by

“water providers” (entities that allege that the water supplies they provide to various

communities across the country have been impacted by AFFF and PFAS), culminating in two

recently-announced class settlements between water providers and 3M and certain Dupont-

related entities. Both settlements were achieved through ongoing mediation efforts overseen by

retired United States District Judge Layn Phillips. Tyco has been, and remains, an active

participant in the Court ordered mediations.

II.      Tyco’s South Carolina State Court Insurance Coverage Action

         On October 7, 2022, Tyco filed an insurance coverage action in the South Carolina Court

of Common Pleas, Ansul LLC et al. v. ACE Am. Ins. Co. et al., No. 2022CP4005289 (the “South

Carolina Action”). See S.C. Compl., ECF 24-5 (Oct. 7, 2022). The South Carolina Action named

as defendants the current Insurer Defendants (except Starr), as well as other insurance companies

that sold general liability insurance policies covering Tyco, including certain insurance


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companies in the Chubb family (“Chubb”). Tyco’s South Carolina Action sought a resolution of

insurance coverage issues encompassing two categories of claims against Tyco: (1) claims

alleging bodily injury resulting from exposure to asbestos-containing products and (2) claims

alleging AFFF-related liabilities. Tyco filed the South Carolina Action in the South Carolina

statewide Asbestos Litigation Docket, supervised by former Chief Justice Jean Toal.

         In December 2022, the insurers in the South Carolina Action, including Chubb and all

Insurer Defendants here (except Starr), objected to that court as a proper forum for resolving the

insurance coverage disputes and filed a series of motions to dismiss. Dyschkant Decl., Exs. 2–4.

Insurer Defendants stressed, among other things, that the South Carolina court lacked jurisdiction

to hear Tyco’s coverage case on its asbestos docket. See id., Ex. 2 at 25; id., Ex. 3 at 27. On the

same day that they filed their motion to dismiss, Chubb filed a competing action in Marinette

County, Wisconsin (the “Wisconsin Action”). See Chubb Wis. Compl., ECF 5-4 (Dec. 12, 2022).

         By order dated May 22, 2023, Judge Toal dismissed the South Carolina Action, finding

that “the appropriate course of action is to dismiss this case in its entirety, without prejudice,”

because, at the time of her ruling, the only underlying asbestos bodily injury suit pending in

South Carolina against Tyco had been dismissed, and the court perceived that there was a

“comprehensive coverage action” pending in the form of the Wisconsin Action. S.C. Dismissal

Order, ECF 24-4 at 2 (May 22, 2023). Tyco promptly filed its coverage suit against Insurer

Defendants in this Court approximately one week after Judge Toal’s without-prejudice dismissal

of its South Carolina Action. 5




5
    Tyco’s action here includes only AFFF claims, no asbestos-related claims.

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III.   Chubb’s Wisconsin State Court Action

       As just noted, in December 2022, two months after Tyco filed the South Carolina Action,

and on the same day that it filed its motion to dismiss that action, Chubb filed the Wisconsin

Action. In Count I of its complaint, Chubb sought a declaration that Tyco had released certain

Chubb insurance policies in a 2011 settlement related to a prior Wisconsin litigation, and it

sought a temporary and permanent injunction preventing Tyco from proceeding against Chubb in

other courts on the released policies. Chubb Wis. Compl., ECF 5-4 ¶¶ 30–36; Wis. Petition for

Temporary Injunction, ECF 5-13 (Dec. 16, 2022). Chubb also impleaded all of the insurers Tyco

had named in its South Carolina Action, seeking a declaration of all parties’ rights regarding

insurance for AFFF- and asbestos-related claims. Chubb Wis. Compl., ECF 5-4 ¶¶ 41–54. The

additional insurers then cross-claimed against Tyco.

       To date, the court in the Wisconsin Action has focused on Chubb’s claims regarding the

release of certain Chubb policies in the 2011 settlement agreement, granting Chubb’s motion for

a Temporary Injunction in May 2023 (Wis. Temporary Injunction, ECF 5-67 (May 22, 2023)),

and directing that “[a]ny party that wishes to make a dispositive motion regarding whether any

settlement agreement released or did not release any insurance claim that is the subject of this

action must do so no later than July 31, 2023,” with a hearing on those issues to be held on

October 31, 2023 (Wis. Scheduling Order, ECF 5-48 (April 17, 2023)). On August 11, 2023,

Tyco and Chubb resolved the settlement-release issues that prompted Chubb to file the

Wisconsin Action and agreed to a stipulated partial judgment. Dyschkant Decl., Exs. 8, 9.

       As for the substantive insurance coverage issues, the Wisconsin court has phased them to

come after its consideration of any policy releases. In its Case Management Order, the court set

December 2024 as the date for completion of fact discovery, September 2025 for completion of

expert discovery, and November 2025 for dispositive motions. Wis. Case Management Order,


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ECF 5-66 (May 22, 2023). As a result, no substantive coverage issues are currently slated to be

addressed in the Wisconsin Action until late 2025 at the earliest.

IV.    This Court’s Mediation Orders and Process

       On May 4, 2023, as MDL mediations intensified, this Court ordered Tyco’s insurers to

attend an in-person mediation session in New York City on May 15, 2023, pursuant to Local

Rules 16.08 and 16.09, which require attendance at a mediation conference by “the insurance

carrier[s]” for “any insured party against whom a claim has been made.” See Mediation Order,

MDL Management Case, ECF 3075 (May 4, 2023). Judge Phillips oversaw that mediation

session, which all of Tyco’s domestic insurance carriers attended. As is now readily apparent

from Insurer Defendants’ motions to dismiss, however, Insurer Defendants contend that they are

not subject to this Court’s jurisdiction, calling into question whether they must comply with the

Local Rules or participate in any Court-ordered mediation or litigation process beyond their

previous voluntary assurances that they will do so. 6

       On May 31, 2023, Tyco filed its complaint against Insurer Defendants in this action,

seeking a declaration of the parties’ respective rights under Insurer Defendants’ policies as

respects coverage for AFFF-related claims. On June 1, this Court issued a further mediation

order directing Insurer Defendants and another of Tyco’s insurers to a further mediation with

Judge Phillips, in Washington, DC, on June 15, 2023. MDL Management Case, ECF 3237 (June

1, 2023). That mediation occurred as scheduled, and Tyco and certain of its insurers participated

in a further mediation session, in New York City, on July 17, 2023. Yet another session has been

requested (but not confirmed) with the AIG Defendants, for next month.


6
  While objecting to this Court’s jurisdiction, the AIG Defendants have told the Wisconsin court
that they “have never challenged the application of the South Carolina District Court’s mediation
rules,” and that Tyco’s desire “to shore up jurisdiction for mediation” “simply makes no sense.”
Dyschkant Decl., Ex. 5 at 3 (AIG Wis. Letter, dated July 6, 2023).

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V.      The AIG Defendants’ Effort to Overtake this Coverage Action

        On July 6, 2023, five weeks after Tyco filed its coverage complaint in this MDL action,

and notwithstanding the Wisconsin court’s focus on the scope-of-release issues that had

precipitated the filing of the Wisconsin Action, the AIG Defendants filed a motion for partial

summary judgment in the Wisconsin Action. See AIG Wis. MSJ Memorandum, ECF 24-16 (July

6, 2023). Their motion focused exclusively on the disputed question whether the claims in the

AFFF suits involve—in the words of the AIG Defendants’ insurance policies—a single

“exposure to substantially the same general conditions” so as to constitute a single “occurrence”,

or whether (as the AIG Defendants contend) the AFFF suits involve multiple “occurrences”. Id.

at 20–28. This question is a key issue that will likely affect the manner in which Tyco’s losses

are allocated among its various insurers and the ultimate amount that each must pay. The issue,

however, rests on the underlying facts, including the conditions, events, and actual or alleged

bodily injury and property damage at issue in the AFFF suits.

        On July 13, 2023, the Wisconsin court declined the AIG Defendants’ request to enter an

expedited briefing schedule on their motion. See Dyschkant Decl., Ex. 6 (Wis. Order Declining

Briefing Schedule, dated July 13, 2023). And in response to a request from this Court, the

Wisconsin court entered a temporary stay of the Wisconsin Action, pending an August 17, 2023,

status conference to determine how that action should proceed. Wis. Stay Order, ECF 24-18

(July 13, 2023). Tyco has requested that the Wisconsin court extend its temporary stay to allow

the insurance coverage issues to proceed in this Court, except as to Chubb whose claims would

remain in the Wisconsin Action while Tyco and Chubb attempt to resolve their remaining

insurance disputes. Dyschkant Decl., Ex. 7 at 2 (Letter re: Stay, dated Aug. 11, 2023).




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VI.     Tyco’s Amended Complaint in this Coverage Action

        Simultaneously with the filing of this Omnibus Response, Tyco has today filed an

Amended Complaint to make two modest amendments to its case. 7 First, Tyco has added a

breach of contract and money damages count against the AIG Defendants, who are Tyco’s

primary and umbrella insurers in most policy years at issue. Tyco has done this because those

AIG Defendants have repudiated and breached their obligations to defend and indemnify Tyco in

connection with the AFFF suits. Amended Compl., ECF 32 ¶ 65–71. Second, Tyco has added 14

more of its liability insurers, of which 12 are not parties to the Wisconsin Action. Id. ¶¶ 12–34.

There are now 23 insurer parties to the coverage action pending in this Court, compared with 21

insurer parties to the Wisconsin Action. Compare Amended Compl. ¶¶ 12–34, with Chubb

Wisconsin Compl. ¶¶ 5–13. 8 Tyco informed Insurer Defendants shortly before they filed their

motions to dismiss that it would amend its complaint in this manner. Insurer Defendants filed

their motions anyway, raising objections that, by their terms and as shown below, fail under both

Tyco’s Amended Complaint and its original Complaint.

                                            ARGUMENT

        This Court has proper jurisdiction over this action and Insurer Defendants. There are

ample reasons for the Court to proceed, and no compelling reasons for the Court to decline its

“virtually unflagging obligation” to exercise the jurisdiction it possesses here.




7
 Tyco has filed its Amended Complaint under Fed. R. Civ. P. 15(a)(1)(B), which allows
amendment at this time without formal leave of court.
8
 Tyco also revised and expanded its citizenship allegation, without impact to the Court’s
diversity jurisdiction, because, as a limited partnership, it has the citizenship of its partners.

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I.      Insurer Defendants’ Argument that the Court Lacks Authority To Proceed
        Misunderstands Federal Venue Law, JPML Procedures, and this Court’s Local
        Rules, All of Which Are Immaterial in Any Event to the Court’s Jurisdiction.

        Insurer Defendants contend that this coverage action is subject to dismissal because Tyco

failed to follow the rules when filing its Complaint. The Zurich Defendants go so far as to argue

that this purported defect deprives the Court of subject matter jurisdiction. Both arguments fail.

        As a threshold matter, this Court’s jurisdiction is conferred by the federal diversity

statute, 28 U.S.C. § 1332, not the JPML Rules or enacting statute. At best for Insurer

Defendants, their “MDL objection” is a venue objection: an argument that this case should be in

a different federal district and did not properly make its way to this Court. See 28 U.S.C. §§

1390–1413 (including the MDL enacting statute, 28 U.S.C. § 1407, within Chapter 87 of Title

28—the venue chapter of the U.S. Code).

        Tellingly, however, Insurer Defendants have not filed a motion challenging venue under

Rule 12(b)(3) of the Federal Rules of Civil Procedure, and in any event, venue is self-evidently

proper here, in the District of South Carolina, under the terms of 28 U.S.C. §§ 1391(b)(2) and

1391(c)(2). Nor have Insurer Defendants identified any other federal district that they contend

would be a more appropriate venue—and there is none. 9 Further, where venue has been laid in a

federal district court, the question whether to proceed in that venue versus another (i.e., in cases,

unlike this one, where defendants have moved to transfer venue) is committed to the sound

discretion of the court before which the action has been filed. See Stewart Organization, Inc. v.

Ricoh Corp., 487 U.S. 22, 29 (1988). Here, Insurer Defendants have identified no reason for this

Court to exercise its discretion to send this case to any other federal district.




9
  Tyco addresses Insurer Defendants’ separate arguments that this Court should abstain and defer
to the Wisconsin Action in Part IV, below.

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       Insurer Defendants’ arguments also rest on the mistaken premise that Tyco needed to file

this action in some other (unidentified) federal district and then persuade the JPML (or that

hypothetical prior court) to “transfer” the case to this district. See, e.g., AIG Mem. at 11; Great

Am. Mem., ECF 22-1 at 13; Zurich Mem., ECF 26-1 at 15. But the JPML Rules expressly

provide that Tyco did not need, and should not even have sought, the approval of the JPML in

filing this action. As Tyco states in its pleadings, but for this MDL proceeding and CMO 3, Tyco

would have filed this action directly in this Court: the District of South Carolina. See Compl.,

ECF 1 ¶ 24; Amended Compl., ECF 32 ¶ 38. Under JPML Rule 7.2(a), “[p]otential tag-along

actions filed in the transferee district [here, the District of South Carolina] do not require Panel

action.” (Emphasis added). Instead, “[a] party should request assignment of such actions to the

Section 1407 transferee judge in accordance with applicable local rules.” Id. (emphasis added).

       That is precisely what Tyco did when it filed its original complaint in this district and

designated the action as associated with the AFFF MDL proceeding. Twelve days after Tyco

filed its complaint, the Clerk of Court, in the ordinary course, determined that this action is

indeed related to the MDL and thus, docketed it as one associated with the MDL. See Docket

Entry No. 3, Tyco Fire Prods LP v. AIU Ins. Co., No. 2:18-cv-02873 (D.S.C. June 12, 2023).

This case assignment was wholly unremarkable and appropriate, in accordance with the Local

Rules of this Court, to which JPML Rule 7.2(a) refers. As Local Rule 26.01(E) confirms, the

Court typically makes an administrative assignment of related cases—whether MDL or not—“to

a single judge” when such cases “arise from the same or identical transactions, happenings, or

events; involve the identical parties or property; or for any other reason would entail substantial

duplication of labor if heard by different judges.” There can be no real question that this

coverage action arises from “the same or identical transactions, happenings, or events” as the




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AFFF suits, or that there would be “substantial duplication of labor” if this matter was not heard

by, and assigned to, the same judge.

       Further, CMO 3 itself provides that actions potentially involving common questions of

fact with the MDL may be “directly filed” in, and associated with, the AFFF MDL for purposes

of efficiency. CMO 3 extends to “all related actions originally filed in this Court or transferred

or removed to this Court and assigned thereto as part of” the MDL. CMO 3 ¶ 1 (emphasis

added). It also makes clear that “any plaintiff whose case would be subject to transfer to these

MDL proceedings may file his or her case directly in the District of South Carolina.” Id. ¶ 25.

       Contrary to what the Zurich Defendants suggest, these orders (and the procedure that

Tyco followed) do not affect, much less impair, this Court’s subject matter jurisdiction. As the

logic of JPML Rule 7.2(a) recognizes, “[c]ases consolidated for MDL pretrial proceedings

ordinarily retain their separate identities,” and the MDL-enacting venue statute (28 U.S.C. §

1407) “does not imbue transferred actions with some new and distinctive character.” Gelboim v.

Bank of America Corp., 574 U.S. 405, 413 (2015). Indeed, “direct filing complaints in MDL

proceedings is not uncommon, nor is it per se impermissible under the MDL statute, the JPML

Rules of Procedure, or interpretive case law.” In re Takata Airbag Prods. Liab. Litig.,

379 F. Supp. 3d 1333, 1338 (S.D. Fla. 2019). A case filed directly in a district overseeing an

MDL does not need the JPML to transfer it, because the case already exists, and will be heard,

within that district and may be administratively associated with the MDL for pretrial

proceedings, pursuant to the District Court’s inherent authority to manage its docket.

       None of the cases that the Zurich Defendants rely upon alter these well-recognized

principles. This is not a circumstance like the one In re January 2021 Short Squeeze Trading

Litigation, where the court concluded that plaintiffs had failed to file a cognizable federal action




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in the first place when they attempted to assert claims “directly in this MDL.” 580 F. Supp. 3d

1243, 1247–48, 1252–53 (S.D. Fla. 2022). As the court noted, the plaintiffs there also did not

“file a separate action in this District,” and thus were “not affiliated with an underlying civil case

number in this District[.]” Id. at 1247, 1253. This case likewise does not involve a situation in

which the Court “lacks original jurisdiction” over the action, such as In re Farmers Ins. Exch.

Claims Reps. Overtime Pay Litig., 2008 WL 4763029 (D. Or. Oct. 28, 2008), or where Article III

standing is absent, such as In re Packaged Ice Antitrust Litigation, 2011 WL 6178891 (E.D.

Mich. Dec. 12, 2011). To the contrary, the Court has original jurisdiction over this action

pursuant to 28 U.S.C. § 1332, and Tyco plainly has Article III standing to assert its insurance

coverage rights.

       Similarly, there is no merit to Insurer Defendants’ argument that Tyco’s action in this

district should not be associated with the MDL because it involves insurance coverage issues.

The sole case that Insurer Defendants cite for this point, In re Chinese-Manufactured Drywall

Liability Litigation, contradicts their position and supports association of this insurance action

with the related AFFF MDL proceeding here. 2010 WL 11747797 (J.P.M.L. June 15, 2010). In

Drywall (which involved the proposed transfer of an insurance action to the MDL district from a

different district), the JPML reasoned that transfer was not warranted because “the cases seem to

present strictly legal questions which require little or no centralized discovery.” Id. at *1. As the

JPML explained, however, “different circumstances could create a stronger case for transfer,”

and “[w]here insurance coverage actions require and rely on the same factual discovery as the

underlying tort actions, transfer may be warranted.”

       Here, there is no proposed transfer from a different district, and many of the key

insurance issues in dispute rely on the very same factual issues (and thus, the same fact




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discovery) as those in the MDL. As the AIG Defendants’ own partial motion for summary

judgment in the Wisconsin Action reflects, the question of number of occurrences rests on the

precise factual characteristics alleged and proven in the underlying AFFF suits. See ECF 24-16 at

20–28 (relying upon alleged characteristics and geographic locations of AFFF-related injuries).

Similarly, another of Insurer Defendants’ main coverage defenses is the contention that Tyco

expected or intended the bodily injury and property damage alleged in the AFFF Suits. See, e.g.,

AIG Defendants’ Wis. Answer, ECF 5-20, Cross-Claim ¶ 30(p) (Jan. 25, 2023). That issue, too,

involves the very factual issues that prompted the JPML to centralize the AFFF Suits in this

MDL, such as “the knowledge of the AFFF manufacturers regarding the dangers of PFOA and

PFOS.” ECF 1 at 3. The overlap in factual issues extends throughout the coverage case, as is

readily apparently from the AIG Defendants’ discovery requests in the Wisconsin Action: of the

31 requests for production the AIG Defendants have served there, 21 of them seek discovery of

the underlying facts at issue in the AFFF suits. See, e.g., AIG Wis. Requests for Production,

ECF 24-13, RFP Nos. 9–23, 25–27; ECF 24-11, RFP Nos. 1–3.

       Further, the JPML has not hesitated to centralize insurance coverage matters with an

MDL where, as here, the insurance issues involve common factual issues with the MDL and the

policyholder is a defendant within the MDL. See, e.g., In re Oil Spill by Oil Rig “Deepwater

Horizon,” 764 F. Supp. 2d 1352, 1353 (J.P.M.L. 2011) (common questions involving explosion

and fire on oil rig, and policyholder was a defendant in the MDL); In re Helicopter Crash Near

Weaverville, Cal., 626 F. Supp. 2d 1355, 1356–57 (J.P.M.L. 2009) (common question involving

who was in control of a helicopter at the time of crash).




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         The JPML did not and does not need to act on this insurance coverage action in order for

this Court to hear it, and the issues this action raises are inarguably related to and appropriately

addressed within, and in conjunction with, the MDL.

II.      The Court Has Personal Jurisdiction Over Each Insurer Defendant.

         A.     Insurer Defendants Consented to General Personal Jurisdiction When They
                Obtained Licenses to Do Business in South Carolina.

         Just six weeks ago, in Mallory, the Supreme Court clarified that the standard set forth in

International Shoe v. State of Washington, 326 U.S. 310 (1945), does not supply the sole

pathway by which a court can obtain personal jurisdiction over an out-of-state corporation.

Mallory v. Norfolk Southern Railway, 143 S. Ct. 2028, at 2038–45 (2023). Rather, as Mallory

confirmed, the rule that the Supreme Court announced 100 years ago in Pennsylvania Fire

Insurance Co. v. Gold Issue Mining & Milling Co., 243 U.S. 93 (1917) (an insurance case, no

less) still applies with full force: an out-of-state corporation that has consented to in-state suits in

order to do business in the forum may be sued there, consistent with due process, while the

standard for non-consenting corporations is articulated by International Shoe. Id.

         As just reaffirmed by Mallory, Pennsylvania Fire controls here. In that case, the Supreme

Court held that Missouri courts had personal jurisdiction over an insurance company

incorporated in Pennsylvania, in a dispute with a policyholder incorporated in Arizona regarding

policies covering buildings in Colorado. Mallory, 143 S. Ct. at 2035–36; Pennsylvania Fire, 243

U.S. at 94. The Supreme Court explained that the insurer had consented to personal jurisdiction

in Missouri because, pursuant to Missouri statute, it “had executed a power of attorney that made

service on the superintendent [of insurance] the equivalent of personal service.” Id. at 94; see

also id. at 95 (“If by a corporate vote [the insurer] had accepted service in this specific case,

there would be no doubt of the jurisdiction of the state court of a transitory action of contract”).



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       South Carolina has enacted and enforces a similar insurance service statute to the one in

Pennsylvania Fire. The South Carolina statute provides, in relevant part:

               Every insurer shall, before being licensed, appoint in writing the
               [South Carolina] director [of insurance] and his successors in office
               to be its true and lawful attorney upon whom all legal process in any
               action or proceeding against it must be served and in this writing
               shall agree that any lawful process against it which is served upon
               this attorney is of the same legal force and validity as if served upon
               the insurer and that the authority continues in force so long as any
               liability remains outstanding in the State.

S.C. Code § 38-5-70 (emphasis added).

       Insurer Defendants are subject to S.C. Code § 38-5-70 because they are licensed to sell

insurance in South Carolina. Indeed, Tyco served process upon each of the Insurer Defendants in

this action pursuant to this very statute, by delivering the summons to the South Carolina

Director of Insurance who, in turn, acknowledged successful process as the agent of each Insurer

Defendant. See Proofs and Acknowledgments of Service, ECF 30-1 through 30-9 in No. 2:23-cv-

02384 (Aug. 11, 2023). By agreeing to and accepting service of process in this manner, Insurer

Defendants have consented to personal jurisdiction in South Carolina. See White Oak Manor,

Inc. v. Lexington Ins. Co., 407 S.C. 1, 8 (S.C. 2014) (“The purpose of the summons is to acquire

jurisdiction of the person of the defendant and to give him notice of the action and an

opportunity to appear and defend.” (Emphasis added)).

       Fidrych v. Marriott International, Inc., 952 F.3d 124 (4th Cir. 2020), does not shield

Insurer Defendants from personal jurisdiction. That case, which was decided before Mallory,

held that a foreign corporation’s act of obtaining a certificate of authority to do business in South

Carolina pursuant to two non-insurance statutes—S.C. Code §§ 33-15-101 and 33-15-105—did

not reflect consent to personal jurisdiction. Id. at 137. Those statutes are not a part of South

Carolina’s insurance code and, by their terms, state only that a foreign corporation agrees



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thereunder to jurisdiction “to determine its South Carolina tax liability.” S.C. Code § 33-15-

105(d) (emphasis added).

        By contrast, the relevant statute here applies specifically to insurance companies, for

which (given the nature of insurance) the state has a unique regulatory interest, and requires that

they agree to be found in South Carolina for “all legal process in any action.” S.C. Code § 38-5-

70; see Mallory, 143 S. Ct. at 2035 (“Yet another group of States applied this all-purpose-

jurisdiction rule to a subset of corporate defendants, like railroads and insurance companies.”

(Emphasis added)). As the South Carolina Supreme Court has held, the state’s “substituted

service or constructive service statutes” were “designed by the legislature to provide a simple

and easy method of obtaining jurisdiction over a foreign insurance company.” Equilease Corp. v.

Weathers, 275 S.C. 478, 483 (S.C. 1980). Insurer Defendants duly consented to jurisdiction here.

        B.      Insurer Defendants are Subject to Specific Personal Jurisdiction Because
                They Sold Policies Covering the Risks in South Carolina at Issue.

        Even where a foreign corporation has not consented to personal jurisdiction, a federal

court still may reach it in a diversity action, “if such jurisdiction is authorized by the long-arm

statute of the state in which it sits and application of the long-arm statute is consistent with the

due process clause of the Fourteenth Amendment.” ESAB Grp., Inc. v. Zurich Ins. PLC, 685 F.3d

376, 391 (4th Cir. 2012). Because South Carolina’s long-arm statute “is coextensive with the

Due Process Clause,” the court may “proceed directly to the constitutional analysis.” Id.

        The question “whether the exercise of specific jurisdiction over a party comports with

due process” rests on a three-part test: “(1) the extent to which the defendant purposefully

availed itself of the privilege of conducting activities in the State; (2) whether the plaintiff[’s]

claims arise out of those activities directed at the State; and (3) whether the exercise of personal




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jurisdiction would be constitutionally reasonable.” Id. at 391–92 (modifications in original). All

three prongs are satisfied here, regardless of Insurer Defendants’ consent.

        Purposeful Availment. Each Insurer Defendant sold one or more policies to Tyco that

cover liabilities nationwide, including in South Carolina. 10 See Amended Compl. ¶ 36;

Dyschkant Decl. ¶ 7 (summarizing territory-of-coverage provisions). Each Insurer Defendant did

so against the backdrop of S.C. Code § 38-61-10, which provides that “[a]ll contracts of

insurance on property, lives, or interests in this State are considered to be made in the State.”

Under that statute, “it is immaterial where the contract was entered into” as an actual fact, and

“there is no requirement that the policyholders or insurers be citizens of South Carolina.”

Sangamo Weston, Inc. v. Nat’l Sur. Corp., 307 S.C. 143, 149 (S.C. 1992). Here, there can be no

real question that Insurer Defendants knew their insured sold fire safety products nationwide and

that Tyco entities did business in South Carolina.

        The Fourth Circuit has long recognized that when an insurer sells a policy with a

coverage territory encompassing a forum state (e.g., losses within “the United States of America,

its territories or possessions”), that act constitutes purposeful availment sufficient to secure

personal jurisdiction there. See Rossman v. State Farm Mut. Auto. Ins. Co., 832 F.2d 282 (4th

Cir. 1987). Holding that an automobile liability insurer was subject to suit in Virginia when it

sold a nationwide policy to an Illinois policyholder, Rossman explained: “Presumably, [the

insurer] offers this type of broad coverage to induce customers to buy its policies and to pay




10
  Great American’s contention that its policy is silent about the coverage territory does not
change this fact. See ECF 22-1 at 11. By omitting a territorial coverage limitation entirely, the
Great American policy provides worldwide coverage. See Marchant v. South Carolina Ins. Co.,
281 S.C. 585 (S.C. Ct. App. 1984) (holding that insurer’s inclusion of a territorial limitation
clause in uninsured motorist policy was enforceable, as otherwise policy would cover “accidents
occurring anywhere on the face of the earth”).

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higher premiums for them. The benefits thereby accruing to [the insurer] are neither fortuitous

nor incidental.” Id. at 287; see also, e.g., Leggett v. Smith, 386 S.C. 63, 74–77 (S.C. Ct. App.

2009) (New York insurance company, which issued policy to New York resident, “could

reasonably expect to be haled into court in South Carolina” due to its “territory-of-coverage

clause limiting coverage to the United States . . . and Canada”).

        Nor is there any merit to the Zurich Defendants’ attempt to avoid this principle by

claiming that in Tyco’s case, unlike Rossman, “the policies at issue did not relate to ‘movable

risks’ such as automobiles.” Zurich Mem. 21. That is nonsense. Products (like AFFF) that Tyco

manufactured are self-evidently “movable.” They move across state lines all the time. That is one

of the reasons Tyco is facing claims in South Carolina and also one of the reasons Tyco bought

nationwide liability insurance. In any event, the Fourth Circuit affirmed as much in ESAB Group,

Inc. v. Zurich Insurance PLC, where it held that an insurer which sold “worldwide” product

liability coverage was subject to personal jurisdiction in South Carolina in connection with

nationwide product liability suits, despite the insurer’s objections that it “maintains no office,

employees, or agents in South Carolina, and it owns no property” in the state. 685 F.3d at 383–

84, 392–93; see also Eli Lilly & Co. v. Home Ins. Co., 794 F.2d 710, 720 (D.C. Cir. 1986)

(“[Insurers] knew that [their policyholder] distributed products nationwide. They therefore were

aware that [their policyholder] was likely to be sued in any jurisdiction in the nation . . . .

Moreover, [insurers] were aware that if [the policyholder] was sued it was likely to attempt to

implead [them] if a dispute arose over their duty to indemnify or defend.”).

        Insurer Defendants’ sale of policies with a coverage territory including South Carolina is

sufficient on its own. But the justification for personal jurisdiction reaches its apex where, as

here, an insurer has a duty to defend suits against the policyholder that may arise in the forum.




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“Litigation . . . is often a necessary part of the insurance business. . . . Therefore, by agreeing to

furnish a defense to its policyholder within a specified policy territory, an insurer indicates its

willingness to be haled into court in foreign forums within this territory.” ESAB, 685 F.3d at 392

(citing Rossman, 832 F.2d at 286–87); see also Farmers Ins. Exch. v. Portage La Prairie Mut.

Ins. Co., 907 F.2d 911, 914 (9th Cir. 1990).

        Here, each of the Insurer Defendants promised in their policies either to defend Tyco

against suits that may be brought in South Carolina, or reserved the right to participate in Tyco’s

defense and pay its defense costs incurred in connection with such suits. See Dyschkant Decl. ¶ 8

(summarizing defense provisions). The Zurich Defendants’ protestation that they “only”

reserved the right to defend does not change the outcome. See Zurich Mem. at 21-22. “By

reserving the right to defend insured entities and by agreeing to make indemnity payments within

the territory of coverage, the Insurers have purposefully availed themselves of the privileges and

benefits of conducting business in any forum state within the covered territory.” TH Agric. &

Nutrition, LLC v. Ace European Grp. Ltd., 488 F.3d 1282, 1291 (10th Cir. 2007). 11

        Claims Arising Out of Activities Directed to the State. Tyco’s claims against Insurer

Defendants also arise out of activities directed at South Carolina. Tyco seeks insurance coverage

under policies that covered the risk of liability nationwide (including South Carolina), for

payment of defense expenses and indemnity of any settlements in this South Carolina-based

MDL, and in which more than 80 actions have been brought directly in South Carolina. See, e.g.,



11
  Lexington Insurance Company v. Hotai Insurance Company, 938 F.3d 874 (7th 2019), on
which the Zurich Defendants rely, offers insurers no refuge. Lexington held that Taiwanese-
based insurers did not purposefully avail themselves of Wisconsin when their Taiwanese-based
policyholders executed contracts in Taiwan to sell goods to a Wisconsin-based manufacturer,
thereby adding the Wisconsin company as an “additional insured” to its Taiwanese policies.
Indeed, the policies at issue contained Taiwan choice of law provisions and required insureds to
submit to the Taiwanese courts (or Taiwanese-seated arbitration). See id. at 877.

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Eli Lilly & Co., 794 F.2d at 720 (affirming personal jurisdiction in District of Columbia for

coverage dispute involving liability for products distributed there and nationwide); Farmers Ins.

Exch. v. Portage La Prairie Mut. Ins. Co., 907 F.2d 911, 914 (9th Cir. 1990) (“But for Portage’s

alleged breach of promise to defend its insured for injuries caused in Montana, this suit would

not have arisen. The second prong is satisfied.”).

       Insurer Defendants miss the mark when they contend that “wherever the underlying

claims may have arisen is not relevant to a jurisdictional analysis[.]” See, e.g., Great Am. Mem.

at 10; see also Starr Mem., ECF 27-1 at 8; Zurich Mem. at 19; AIG Mem. at 27-28. As the

authority above demonstrates, an insurer that sells nationwide liability coverage can reasonably

expect to be sued over coverage wherever the insured risk—and the duty to provide coverage for

it—materializes. None of Insurer Defendants’ cases hold to the contrary. Indeed, only two of

those cases even involve claims for insurance coverage, and both are inapposite:

       In KCHM, Inc. v. Mid-Continent Cas. Co. (cited in AIG Mem. at 27), the court found that

there was no personal jurisdiction in North Carolina because the insured was seeking coverage

under a policy issued in Oklahoma in connection with a lawsuit in West Virginia that arose out

of a structural collapse that occurred in West Virginia. 264 F. Supp. 3d 697 (E.D.N.C. 2017).

Here, by contrast, the alleged underlying liabilities that Insurer Defendants promised to insure,

and for which Tyco seeks coverage, involve over 80 lawsuits alleging bodily injury and property

damage brought in South Carolina as part of a nationwide MDL proceeding that has been

pending in South Carolina for five years. Major v. National Indemnity Co. (cited in Great Am.

Mem. at 10) is even farther afield. 267 S.C. 517 (S.C. 1976). There, the court dismissed a suit

filed by a third-party claimant against an insurer because the policyholder was a necessary party

whom the plaintiff failed to join to the suit. 267 S.C. at 518. Major has nothing to do with




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personal jurisdiction or claims like those here brought against an insurer by its own insured. The

other cases that Insurer Defendants rely upon are likewise irrelevant here. 12

        Constitutional Reasonableness. The Court’s exercise of personal jurisdiction over

Insurer Defendants is also constitutionally reasonable. This prong protects “a party from

litigation so gravely difficult and inconvenient that the party unfairly is at a severe disadvantage

in comparison to its opponent.” ESAB Grp., 685 F.3d at 392. Where, as here, Insurer Defendants

have sold insurance with a national or global coverage territory, they have “indicated that the

burden of appearing in a forum in South Carolina is not exceedingly onerous.” Id. at 393. Indeed,

Insurer Defendants routinely litigate in South Carolina, and they do not and cannot contend that

it would be difficult—let alone, put them at a “severe disadvantage”—to do so here. 13 Further,

Tyco has a substantial interest in the convenience of litigating in South Carolina, where it is

already defending the vast majority of the lawsuits for which it seeks coverage.



12
   Bristol-Myers Squibb Co. v. Super. Ct., 582 U.S. 255 (2017), held that a drug company was
not subject to personal jurisdiction in California for a product liability suit by patients who were
allegedly injured by the defendant’s drug because the plaintiffs had neither bought the drug in
California nor used or suffered any harm from the drug there. Fidrych v. Marriott Int’l, Inc., 952
F.3d 124 (4th Cir. 2020), held that a hotel company was not subject to personal jurisdiction in
South Carolina because “none of [the hotel’s] actions or omissions that form the basis of the
Plaintiffs’ claims took place in South Carolina or were otherwise directed at South Carolina
residents.” In re Showa Denko K.K., 953 F.2d 162 (4th Cir. 1992), held that a court did not have
the authority to order persons who were not parties to the litigation to contribute to a settlement.
Aviation Assocs. & Consultants, Inc. v. Jet Time, Inc., 303 S.C. 502 (S.C. 1991), held that a
foreign corporation that executed a contract for the sale of an airplane outside South Carolina
and did not contemplate any performance or other action in South Carolina did not have
sufficient contacts with South Carolina to satisfy due process for personal jurisdiction.
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  See, e.g., Protopapas v. Zurich Am. Ins. Co., 2023 WL 2206640 (D.S.C. Feb. 24, 2023); 2022
WL 3224568 (S.C. Ct. App. Aug. 10, 2022) (naming New Hampshire Insurance Company as a
defendant); Est. of Anderson by Brown v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA., 2018 WL
1428497 (D.S.C. Mar. 22, 2018); Starr Indem. & Liab. Co. v. Ocean Keyes Dev., LLC, 2017 WL
6324632 (D.S.C. Dec. 11, 2017); Baker Roofing Co. v. Am. Guarantee & Liab. Ins. Co., 2017
WL 710541 (D.S.C. Feb. 23, 2017); Del Webb Communities, Inc. v. Am. Home Assurance Co.,
2016 WL 5407894 (D.S.C. Sept. 28, 2016).

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        C.      American Guarantee Agreed to be Sued Wherever Tyco Requests

        Finally, the objection by American Guarantee (a Zurich Defendant) to personal

jurisdiction is especially puzzling. One of its policies expressly promises that, “[i]n the event an

action or proceeding arises under the contract, it is agreed that [American Guarantee], at [Tyco’s]

request, will submit to the jurisdiction of a court of competent jurisdiction within the United

States.” Ferguson Decl., Ex. 4, ECF 26-5 at printed page 90 of 128 (§ IV(S) in Policy No.

IPR 3792307-00). Tyco has made this request by suing American Guarantee, and American

Guarantee is bound to honor that choice. See Eli Lilly, 794 F.2d at 718 (enforcing similar clause).

III.    The South Carolina “Door-Closing” Statute Does Not Apply.

        Defendants contend that even if the Court has subject matter and personal jurisdiction, it

still lacks the power to hear the case under S.C. Code § 15-5-150 (the “Door-Closing Statute”).

See AIG Mem. at 30; Great Am. Mem. at 18; Zurich Mem. at 23; Starr Mem. at 10. This

argument is likewise meritless.

        The Door-Closing Statute is a state law that does not speak to federal jurisdiction or

venue. See Proctor & Schwartz, Inc. v. Rollins, 634 F.2d 738, 740 (4th Cir. 1980) (federal courts

apply the Door-Closing Statute as a matter of comity subject to federal considerations). Further,

even by its terms, that statute allows non-residents to sue foreign corporations in a South

Carolina court if either (i) “the cause of action shall have arisen . . . within this State” or (ii) “the

subject of the action shall be situated within this State.” S.C. Code § 15-5-150; As Judge Norton

recognized in Flexi-Van Leasing, Inc. v. Travelers Indem. Co., 2017 WL 11707321 (D.S.C. Dec.

7, 2017), both propositions are met in insurance coverage disputes like this one that involve

coverage triggered by underlying lawsuits pending in a court within South Carolina.

        The first prong is satisfied because a coverage suit to enforce rights to insurance upon a

risk of liability that has materialized in South Carolina—like this MDL proceeding—constitutes


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a cause of action arising within South Carolina. “[T]he nexus between South Carolina and the

Policy is that [the policyholder] . . . is defending itself in a negligence action in this court, for

which the Policy provides indemnification and defense on [the insurer’s] part.” Id. at *4.

Likewise, the second prong is satisfied because the subject-matter of this coverage action is

situated in South Carolina: Tyco’s “primary right is the Policy provision providing a defense and

indemnification for suits seeking bodily injury damages, the performance of which was triggered

in South Carolina upon the filing of the underlying action.” Id. at *5.

        Insurer Defendants do not dispute that Flexi-Van is squarely on point. Rather, they

contend that the Court should follow other cases, with less relevant facts, rather than the

persuasive reasoning of Flexi-Van. But the principal case on which Insurer Defendants rely,

McCall v. State Farm Mut. Auto. Ins. Co. (cited in AIG Mem. 30), does not contradict Flexi-Van.

That case held that the Door-Closing Statute barred suit in South Carolina for a North Carolina

resident’s claim against a North Carolina insurer under a policy purchased by North Carolina

policyholders. 359 S.C. 372, 380–81 (Ct. App. 2004).

        The McCall court observed that although the case originally included claims against

insurance agents in South Carolina for a claimed error in removing a death benefit from the

North Carolina policy, those claims were “dismissed with prejudice,” leaving only an out-of-

state party claiming an error by an out-of-state insurer in modifying the terms of an out-of-state

insurance policy. Id. at 381. Further, although the decedent was a resident of South Carolina at

the time of death, the court noted that the claims at hand were not brought by the decedent or his

estate, but instead, by a North Carolina beneficiary in her own capacity based on errors occurring

in North Carolina. Id. at 383. In that context, the court held that the Door-Closing Statute

applied. Here, by contrast, Insurer Defendants sold an insurance policy covering nationwide risks




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of liability including in South Carolina; those risks thereafter have materialized within the state;

and Tyco now seeks to enforce its rights as a policyholder to coverage for them.

       Nor does the Door-Closing Statute restrict Tyco’s coverage action to just the issue of

coverage for the AFFF suits that claim injury within South Carolina. See AIG Mem. at 32-33;

Zurich Mem. at 23. Insurer Defendants’ argument, if accepted, would lead to the absurd result

that Tyco must file piecemeal lawsuits in all states and territories at issue in order to fully

recover insurance for liabilities encompassed by this MDL proceeding. Nothing in the language

of the Door-Closing Statute purports to slice up a party’s claim for performance under an

insurance contract based on the various places where performance was supposed to have

occurred. Rather, if a “cause of action shall have arisen” or its “subject” is “situated within”

South Carolina, the statute opens the door to the full lawsuit. Nor does Farmer v. Monsanto

Corp., impose a contrary limitation. 353 S.C. 553, 557–558 (S.C. 2003). That case concerned the

entirely different question whether a class representative with capacity under the Door-Closing

Statute may represent absent class members who lack capacity under the statute. Here, Tyco has

capacity under the Door-Closing Statute, and brings this lawsuit pursuant to that capacity.

       Insurer Defendants’ reliance upon the other cases they cite fares no better. Tuttle Dozer

Works, Inc. v. Gyro-Trac (USA), Inc. (cited in AIG Mem. at 32) does not “suggest[]” that the

Door-Closing Statute splits up the relief that a plaintiff may obtain for performance of a contract

once the initial door to suit in South Carolina has been opened. 463 F. Supp. 2d 544 (D.S.C.

2006). Rather, in that case, the defendants filed a motion to dismiss for lack of personal

jurisdiction and also argued that the “door-closing statute precludes some of the [plaintiff’s]

causes of action because they did not arise in South Carolina.” Id at 549. The court denied the




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motion, holding that “th[e] disputes are not ripe because the record is not developed enough to

allow a decision on the issues.” Id. at 548, 551.

       In Snell v. Golden Rule Ins. Co. (cited in AIG Mem. at 31), the dispute involved whether

the plaintiff was, as a matter of fact, a resident of South Carolina such that the Door-Closing

Statute would not be relevant in the first place. 2009 WL 185723 (D.S.C. Jan. 23, 2009). The

court held that the plaintiff was not a South Carolina resident but rather a Virginia resident, and

dismissed the lawsuit because it involved a health insurance contract sold by an Indiana insurer

to a Virginia resident covering her health at a home address listed in Virginia.

       The Door-Closing Statute thus does not apply here, and it does not divest this Court of

jurisdiction or venue.

IV.    The Court Should Not Abstain from Exercising its Jurisdiction.

       Once jurisdiction has been conferred on a federal court, the court ordinarily should

exercise it. As the Supreme Court has held, abstention is “the exception, not the rule,” and

federal courts have a “virtually unflagging obligation” to exercise their jurisdiction. Colorado

River Water Conserv. Dist. v. United States, 424 U.S. 800, 813, 817 (1976). Further, abstention

is not appropriate “simply because a pending state-court proceeding involves the same subject

matter,” Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 72 (2013), and “[t]here is no doctrine that

. . . pendency of state judicial proceedings excludes the federal courts.” New Orleans Public

Service, Inc. v. Council of City of New Orleans, 491 U.S. 350, 373, (1989).

       A.      The Colorado River Test, Not the Brillhart/Wilton Test, Applies Here.

       Insurer Defendants’ main argument for abstention rests upon the Brillhart/Wilton test,

under which a federal court has discretion whether to exercise jurisdiction over an action that

solely seeks a declaration of rights pursuant to the federal Declaratory Judgment Act, 28 U.S.C.

§ 2201. See AIG Mem. 14–25 (citing Med. Mut. Ins. Co. of N.C. v. Littaua, 35 F.4th 205 (4th


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Cir. 2022)). Because Tyco seeks substantial money damages from the AIG Defendants, who sold

Tyco hundreds of millions of dollars of primary and umbrella coverage, in addition to both

declaratory and injunctive relief from all Insurer Defendants, the Brillhart/Wilton test does not

apply. While the exercise of jurisdiction would be appropriate under Brillhart/Wilton, the more

stringent Colorado River test governs and removes any potential doubt. See VonRosenberg v.

Lawrence, 781 F.3d 731, 735 (4th Cir. 2015) (“We now join several of our sister circuits in

holding that Colorado River, not Brillhart/Wilton, must guide a court’s decision to abstain from

adjudicating mixed complaints alleging claims for both declaratory and nondeclaratory relief.”).

       B.        Under the Colorado River Test, the Court has a “Virtually Unflagging
                 Obligation” to Exercise Its Jurisdiction over this Action.

       “Colorado River permits a court to abstain only in the rare circumstance in which the

needs of judicial administration are so pressing as to supersede the court’s otherwise ‘virtually

unflagging obligation’ to exercise its jurisdiction over that federal action.” VonRosenberg, 781

F.3d at 735 (emphasis in original).

       “The threshold question in deciding whether Colorado River abstention is appropriate is

whether there are parallel federal and state suits.” Great Am. Ins. Co. v. Gross, 468 F.3d 199, 207

(4th Cir. 2006). If the suits are “parallel”, the Court next must “carefully balance several factors

with the balance heavily weighted in favor of the exercise of jurisdiction.” Id. Six factors “guide

the analysis”:

                 (1) whether the subject matter of the litigation involves property
                 where the first court may assume in rem jurisdiction to the exclusion
                 of others; (2) whether the federal forum is an inconvenient one;
                 (3) the desirability of avoiding piecemeal litigation; (4) the relevant
                 order in which the courts obtained jurisdiction and the progress
                 achieved in each action; (5) whether state law or federal law
                 provides the rule of decision on the merits; and (6) the adequacy of
                 the state proceeding to protect the parties’ rights.




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Id. at 207–08. “In the final analysis, abstention is the exception, not the rule, and it may be

considered only when the parallel state-court litigation will be an adequate vehicle for the

complete and prompt resolution of the issues between the parties. Id. at 208. “[O]nly the clearest

of justifications will warrant dismissal in favor of concurrent court proceedings.” VonRosenberg,

781 F.3d at 735. 14

        Measured against this standard, this Court’s exercise of jurisdiction is warranted. As a

threshold matter, concurrent lawsuits are “parallel” under this test only when “substantially the

same parties litigate substantially the same issues in different forums.” Chase Brexton

HealthServs., Inc., v. Maryland, 411 F.3d 457, 464 (4th Cir. 2005). This requirement is “strictly

construed,” and “requir[es] that the parties involved be almost identical.” Great Am. Ins. Co.,

468 F.3d at 208. “In addition, even state and federal claims arising out of the same factual

circumstances do not qualify as parallel if they differ in scope or involve different remedies.”

VonRosenberg v. Lawrence, 849 F.3d 163, 168 (4th Cir. 2017). This action and the Wisconsin

Action are not “parallel” under Fourth Circuit law, thus ending the abstention analysis.

        Here, Tyco’s Amended Complaint names 23 insurer parties as defendants, compared with

the 21 insurer parties who are currently in the Wisconsin Action initiated by Chubb. Of those

numbers, 12 insurer parties named in the Amended Complaint are not parties to the Wisconsin

Action, and similarly 10 insurer parties in the Wisconsin Action are not parties to this action. In

short, there is a considerable absence of identity among the parties to the two actions. Further,

the Amended Complaint pleads breach of contract and seeks damages from certain AIG




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  Further, when applied to complaints seeking both damages and declaratory relief, the
“Colorado River abstention doctrine is an all-or-nothing proposition” (i.e., the court does not
split the action and proceed with non-declaratory claims while dismissing declaratory claims).
Oldfield Club v. TI Oldfield Dev., LLC, 2017 WL 5523045, at *3 (D.S.C. Nov. 17, 2017).

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Defendants. By contrast, the Wisconsin Action principally is characterized by Chubb’s prayer for

declaratory and injunctive relief against Tyco, and no party has claimed for damages in

Wisconsin.15 Thus, the two actions also involve different remedies. Under these circumstances,

the actions are not “parallel” to support abstention in the first place.

        Even if the two actions were parallel, Colorado River strongly disfavors abstention here:

        First, neither action involves property where a court may assume in rem jurisdiction, and

so this factor is a neutral one that supports the exercise of jurisdiction.

        Second, this federal forum is not an inconvenient one. The Court has been overseeing this

17,000-plaintiff MDL proceeding for five years, during which time it has developed considerable

familiarity with the allegations and facts of the AFFF suits. That expertise will permit the Court

to efficiently and effectively address the insurance coverage issues at hand. Indeed, tens of

millions of pages of documents already have been produced in this forum, and dozens of

depositions taken, all under the Court’s supervision, and that discovery is intertwined with many

of the key coverage issues at hand here. Additionally, intensive and ongoing mediations are

occurring in the MDL proceeding, and Insurer Defendants are required to participate in these

mediations—meaning that they will have continuing connections with this federal forum and

proceeding, regardless of where the coverage disputes are resolved. Finally, both Wisconsin and

South Carolina are equally convenient for Insurer Defendants, who sell insurance nationwide and

are not headquartered in either jurisdiction.

        Third, the overlap between this action and the Wisconsin Action is not any more

problematic than it would be in any other matter involving concurrent litigation. Gannett Co. v.




15
   To be sure, if this Court stayed its hand and the Wisconsin Action proceeded, Tyco would
likely amend to add counter- and cross-claims there.

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Clark Const. Grp., Inc., 286 F.3d 737, 744 (4th Cir. 2002) (“The threat of inconsistent results

and the judicial inefficiency inherent in parallel breach of contract litigation, however, are not

enough to warrant abstention.”). To date, the Wisconsin Action has focused on resolving

Chubb’s assertion that certain of their insurance policies were released in a prior 2011

settlement, and that issue has now been fully resolved. See Dyschkant Decl., Exs. 8, 9 (Tyco and

Chubb Proposed Order & Partial Judgment, dated Aug. 11, 2023). As of the date of this Omnibus

Response, the Wisconsin Action has been stayed temporarily, while this Court and the

Wisconsin court coordinate regarding resolution of the substantive coverage issues. Any risks of

simultaneous or inconsistent resolution of these issues thus can be managed and minimized,

especially if this Court intends to move as quickly as it has indicated, potentially resolving the

coverage issues by the spring of next year.

       Fourth, although the Wisconsin Action was filed before this one, that case remains in its

earliest stages in respect to the AFFF insurance coverage issues before this Court. The AIG

Defendants are simply wrong in representing to this Court that the Wisconsin Action is “in

advanced stages.” AIG Mem. 1. Further, while it is true that the AIG Defendants have served

Tyco with requests for production and interrogatories in Wisconsin—which Tyco has

answered—those discovery requests principally seek the same underlying facts and discovery

that already have been explored and provided during discovery in this MDL proceeding. See

ECF 24-14, RFP Nos. 9–23, 25–27; ECF 24-11, RFP Nos. 1–3. Tyco has already voluntarily

produced to Insurer Defendants in this action 220,158 documents, encompassing 896,601 pages.

See Dyschkant Decl. ¶ 2.

       Fifth, while state law will provide the rule of decision on the merits of this coverage

action, the question of which state’s law applies has not been resolved and will likely require a




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choice of law analysis and, potentially, discovery. Insurer Defendants simply proclaim that

Wisconsin law will apply and, from that premise, contend that Wisconsin courts have a “strong

interest” in this insurance coverage dispute. E.g. AIG Mem. 18. But Insurer Defendants

simultaneously assert that their insurance policies were negotiated and sold in non-Wisconsin

jurisdictions, where Tyco and its predecessors had headquarters at the time of policy issuance.

See, e.g., Great Am. Mem. at 17, Zurich Mem. at 9–10, Starr Mem. at 4. Further, the insurance

policies at issue cover nationwide risks of product liability, which has manifested in extensive

allegations of bodily injury and property damage occurring, and being resolved through

litigation, in South Carolina. See, e.g., S.C. Code § 38-61-10 (applying South Carolina law to

contracts of insurance on interests in the state); Hartsock v. Am. Auto. Ins. Co., 788 F. Supp. 2d

447, 450–51 (D.S.C. 2011). Accordingly, there are significant questions about whether

Wisconsin law applies that will need to be resolved.

        In all events, this Court has considerable experience in deciding choice of law issues and

faithfully applying the law of whichever of the 50 states may govern an action, both through its

regular exercise of diversity jurisdiction and in connection with the MDL proceeding, and is

qualified and well-equipped to handle such issues. 16

        Sixth, there is no reason to question the adequacy of either forum in protecting the

parties’ rights. So, while the factors above favor proceeding here, this factor carries little weight.

        Considering that the analysis starts with the presumption that the balance is “heavily

weighted in favor of the exercise of jurisdiction,” this Court should proceed in exercising its

jurisdiction. See Great Am. Ins. Co., 468 F.3d at 207.




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  To the extent that Wisconsin law may be determined not to apply, any interest that Wisconsin
might have in the Wisconsin Action would be commensurately diminished.

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       C.      The Brillhart/Wilton Test Likewise Supports the Exercise of Jurisdiction.

       The Colorado River test applies here, but even under Brillhart/Wilton, the result would

be the same. The Brillhart/Wilton test recognizes that when a lawsuit involves solely claims for

declaratory relief, a district court enjoys greater discretion to decide whether to proceed to

adjudicate that request for relief, based on “considerations of practicality and wise judicial

administration.” See Wilton v. Seven Falls. Co., 515 U.S. 277, 288 (1995).

       “[A] declaratory judgment action is appropriate ‘when the judgment will serve a useful

purpose in clarifying and settling the legal relations in issue, and when it will terminate and

afford relief from the uncertainty, insecurity, and controversy giving rise to the proceeding.”

Penn-Am. Ins. Co. v. Coffey, 368 F.3d 409, 412 (4th Cir. 2004). The pendency of a related state

court proceeding is a factor that “should inform the district court’s discretion whether to exercise

jurisdiction over a declaratory judgment,” but it is not a dispositive factor. Id. Rather, the

overriding concern involves whether a district court would be “indulging in gratuitous

interference if it permitted the federal declaratory action to proceed.” Wilton, 515 U.S. at 283.

       Four factors guide the Court’s discretionary decision whether to adjudicate a declaratory

judgment action, often referred to in this circuit as the “Nautilus” factors:

               (1) whether the state has a strong interest in having the issues
               decided in its courts; (2) whether the state courts could resolve the
               issues more efficiently than the federal courts; (3) whether the
               presence of “overlapping issues of fact or law” might create
               unnecessary “entanglement” between the state and federal courts;
               and (4) whether the federal action is mere “procedural fencing,”
               in the sense that the action is merely the product of forum-shopping.

Med. Mut. Ins. Co. of N. Carolina, 35 F.4th at 208–09. These factors, taken together, support the

Court’s exercise of jurisdiction in this action for similar reasons that the Colorado River factors

support that same outcome.




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        First, Wisconsin’s interest in this coverage action is at best equal to South Carolina’s

interest and the broader federal interest, and may be less weighty. The disputed coverage issues

arise from Insurer Defendants’ sale of insurance policies covering liability risks nationwide, not

just the risk of claims in Wisconsin, and this is a nationwide MDL proceeding. Indeed,

Wisconsin claimants make up no more than approximately 70 of the actions being heard in this

MDL; the number AFFF actions hailing from South Carolina alone total more than 80. See

Dyschkant Decl. ¶¶ 3–4. And if the Court were to determine that Wisconsin law does not apply,

then Wisconsin’s interest would fall well below that of South Carolina’s and the other states.

        Second, this Court can resolve the insurance issues at hand at least as efficiently as the

Wisconsin court. This Court has had the benefit of having supervised this MDL proceeding for

the past five years, and has developed significant knowledge of the allegations and facts of the

AFFF suits. Because these underlying factual issues are intertwined with many of the key

coverage issues, see Part I, above, this Court is a logical and efficient forum for resolving the

coverage dispute. 17

        Third, as noted above, any risk of overlapping issues of fact or law, or entanglement

between the two actions, can be effectively mitigated and managed by coordination, which

already has been occurring and which Tyco is committed to continuing.

        Fourth, Insurer Defendants’ complaints about alleged “procedural fencing” or

“gratuitous interference” ring hollow. Tyco, not Insurer Defendants, originally sought a broad

resolution of coverage issues in a South Carolina forum by initiating its South Carolina Action.

Insurer Defendants resisted that forum, and Chubb filed a countersuit in Wisconsin precipitated



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  The parties and remedies sought in both actions also do not fully overlap. Furthermore, a
substantial number of insurance policies cannot be addressed by either action, due to the
presence of arbitration clauses, so neither action can be fully complete. See Dyschkant Decl. ¶ 5.

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by the (now-resolved) issue of whether certain Chubb policies have been fully released. Since

then, the AIG Defendants have sought to undermine this federal action by filing a pre-discovery

motion for partial summary judgment on a single issued raised by their cross-claims in the

Wisconsin Action, but that action has not progressed in a manner that would conflict with this

Court’s jurisdiction, and this Court has wholly valid (indeed, compelling) reasons to proceed in

the interests of efficiency.

V.      The Forum Non Conveniens Doctrine Does Not Apply or Warrant Dismissal.

        Finally, all Insurer Defendants except Great American (to its credit) invoke the doctrine

of forum non conveniens, arguing that the Wisconsin court is a more appropriate forum. As

Insurer Defendants concede, however, “[t]he forum non conveniens doctrine is a common law

doctrine now largely limited in federal court to cases where the alternative forum for litigating

the dispute is outside of the United States.” Compania Naviera Joanna SA v. Koninklijke

Boskalis Westminster NV, 569 F.3d 189, 200 (4th Cir. 2009) (emphasis added). In fact, it is only

“perhaps in rare instances” that the doctrine might apply at all to an alternative forum within the

United States. Sinochem Int'l Co. v. Malaysia Int'l Shipping Corp., 549 U.S. 422, 430 (2007)

(emphasis added). Whatever those “rare instances” might be, this action plainly does not present

the sort of highly exceptional circumstance that could fit through the eye of Sinochem’s needle.

Indeed, the same considerations discussed above that strongly disfavor abstention likewise

counsel powerfully against dismissal of this action in deference to the Wisconsin Action.

                                         CONCLUSION

        The Court should deny Insurer Defendants’ motions to dismiss or stay this action.




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Dated: August 14, 2023                   COVINGTON & BURLING LLP


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